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                      UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF FLORIDA
                             TAMPA DIVISION


 DESTINEE DALE, individually and                   Case No.:
 on behalf of all others similarly
 situated,                                         COLLECTIVE ACTION

       Plaintiff,
                                                   COMPLAINT FOR
 v.                                                DAMAGES
                                                   1. Failure to Pay Minimum
 GULF COAST HOLDINGS, LLC dba                         Wages,
 OZ’S GENTLEMEN’S CLUB, a                             29 U.S.C. § 206;
 Florida Limited Liability Company;                2. Illegal Kickbacks, 29 C.F.R.
 PAUL SCAGNELLI, an individual;                       § 531.35;
 DOE MANAGERS 1 through 3; and                     3. Unlawful Taking of Tips, 29
 DOES 4 through 10, inclusive,                        U.S.C. § 203; and
                                                   4. Forced Tip Sharing, 29
       Defendants.                                    C.F.R. § 531.35

                                                   DEMAND FOR JURY TRIAL



                                               /


      Plaintiff Destinee Dale (“Plaintiff”), individually and on behalf of all others
similarly situated, alleges the following upon information and belief, based upon
investigation of counsel, published reports, and personal knowledge:
I.    NATURE OF THE ACTION
      1.     Plaintiff alleges causes of action against defendants GULF COAST
HOLDINGS, LLC dba OZ’S GENTLEMEN’S CLUB, a Florida limited liability
company, (“Oz’s”), PAUL SCAGNELLI (“Scagnelli”), an individual, DOE


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MANAGERS 1 through 3, and DOES 4 through 10, inclusive, (collectively,
“Defendants”) for damages due to Defendants evading the mandatory minimum
wage and overtime provisions of the Fair Labor Standards Act, 29 U.S.C. §§ 201,
et seq.(“FLSA”), illegally absconding with Plaintiff’s tips and demanding illegal
kickbacks including in the form of “House Fees.”
      2.     These causes of action arise from Defendants’ willful actions while
Plaintiff was employed by Defendants in the three (3) year period prior to the
filing of this Complaint. During her time being employed by Defendants, Plaintiff
was denied minimum wage payments and denied overtime as part of Defendants’
scheme to classify Plaintiff and other dancers/entertainers as “independent
contractors.” As the Department of Labor explained in a recent Administrative
Interpretation:

           Misclassification of employees as independent contractors is
           found in an increasing number of workplaces in the United
           States, in part reflecting larger restructuring of business
           organizations. When employers improperly classify employees
           as independent contractors, the employees may not receive
           important workplace protections such as the minimum wage,
           overtime compensation, unemployment insurance, and workers’
           compensation. Misclassification also results in lower tax
           revenues for government and an uneven playing field for
           employers who properly classify their workers. Although
           independent contracting relationships can be advantageous for
           workers and businesses, some employees may be intentionally
           misclassified as a means to cut costs and avoid compliance with
           labor laws.


As alleged in more detail below, that is exactly what Defendants are doing in this case.

      3.     Plaintiff worked at Defendants’ principal place of business located at
13577 US Hwy 19 N, Clearwater, Florida 33764.


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      4.     Oz’s failed to pay Plaintiff minimum wages and overtime wages for
all hours worked in violation of 29 U.S.C. §§ 206 and 207 of the FLSA.
      5.     Defendants’ conduct violates the FLSA, which requires non-exempt
employees to be compensated for their overtime work at a rate of one and one-half
(1.5) times their regular rate of pay. See 29 U.S.C. § 207(a).
      6.     Furthermore, Defendants’ practice of failing to pay tipped employees
pursuant to 29 U.S.C. § 203(m), violates the FLSA’s minimum wage provision.
See 29 U.S.C. § 206.
      7.     Plaintiff brings a collective action to recover the unpaid overtime
compensation and minimum wage owed to her individually and on behalf of all
other similarly situated employees, current and former, of Defendants. Members
of the Collective Action are hereinafter referred to as “FLSA Class Members.”
      8.     As a result of Defendants’ violations, Plaintiff and the FLSA Class
Members seek to recover double damages for failure to pay minimum wage,
overtime liquidated damages, interest, and attorneys’ fees.
II.   PARTIES
      9.     At all times relevant, Plaintiff was an individual adult resident of the
State of Florida. Furthermore, Plaintiff was employed by Defendants and qualifies
as an “employee” of Defendants as defined by the FLSA, 29 U.S.C. § 203(e)(1).
Her consent to this action is attached hereto as Exhibit 1.
      10.    The FLSA Class Members are all current and former exotic dancers
who worked at Defendants’ club Oz’s located at 13577 US Hwy 19 N, Clearwater,
Florida 33764 at any time starting three (3) years before this Complaint was filed,
up to the present.
      11.    Defendant GULF COAST HOLDINGS, LLC dba OZ’S
GENTLEMEN’S CLUB (“Oz’s”) is a Florida Limited Liability Company with its
principal address located at 13577 US Hwy 19 N, Clearwater, Florida 33764. At

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all times mentioned herein, Oz’s was an “employer” or “joint employer” as
defined by the FLSA, 29 U.S.C. § 203(d) and (g). Oz’s may be served via its agent
for service of process, Paul Scagnelli at 18514 US Hwy 19 North, Suite E,
Clearwater, Florida 33764.
      12.    Defendant PAUL SCAGNELLI (“Scagnelli”) is an owner of Oz’s.
      13.    Scagnelli acted directly or indirectly on behalf of Oz’s, and, at all
times mentioned herein were “employer(s)” or “joint employer(s)” of Plaintiff
within the meaning of the FLSA. He exerted operational and management control
over Oz’s, including day to day management. He was, and is, frequently present
at, owned, directed, controlled and managed the operations at Oz’s. He also
controlled the nature, pay structure, and employment relationship of Plaintiff and
the FLSA Class Members. Scagnelli had at all times relevant to this lawsuit, the
authority to hire and fire employees at Oz’s, the authority to direct and supervise
the work of employees, the authority to sign on the business’ checking accounts,
including payroll accounts, and the authority to make decisions regarding
employee compensation and capital expenditures. Additionally, he was
responsible for the day-to-day affairs of Oz’s. In particular, he was responsible for
determining whether Oz’s complied with the FLSA.
      14.    DOE MANAGERS 1-3 are the managers/owners who controlled the
policies and enforce the policies related to employment at Oz’s.
      15.    The true names, capacities or involvement, whether individual,
corporate, governmental or associate, of the Defendants named herein as DOES 4
through 10, inclusive are unknown to Plaintiff who therefore sues said Defendants
by such fictitious names. Plaintiff prays for leave to amend this Complaint to show
their true names and capacities when the same have been finally determined.
Plaintiff is informed and believes, and upon such information and belief alleges
thereon, that each of the Defendants designated herein as DOE is negligently,

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intentionally, strictly liable or otherwise legally responsible in some manner for the
events and happenings herein referred to, and negligently, strictly liable
intentionally or otherwise caused injury and damages proximately thereby to
Plaintiff, as is hereinafter alleged.
       16.    At all material times, Defendants have been an enterprise in
commerce or in the production of goods for commerce within the meaning of 29
U.S.C. § 203(r)(1) of the FLSA because they have had employees at their club
engaged in commerce, which has travelled in interstate commerce. Moreover,
because of Defendants’ interrelated activities, they function in interstate
commerce. 29 U.S.C. § 203(s)(1).
       17.    Furthermore, Defendants have had, and continue to have, an annual
gross business volume in excess of the statutory standard.
       18.    At all material times during the three (3) years prior to the filing of
this action, Defendants categorized all dancers/entertainers employed at Oz’s as
“independent contractors” and have failed and refused to pay wages or
compensation to such dancers/entertainers. Plaintiff was an individual employee
who engaged in commerce or in the production of goods for commerce as required
by 29 U.S.C. §§ 206-207.
       19.    Plaintiff is informed and believes that, at all relevant times herein,
Defendants engaged in the acts alleged herein and/or condoned, permitted,
authorized, and/or ratified the conduct of its employees and agents, and other
Defendants and are vicariously or strictly liable for the wrongful conduct of its
employees and agents as alleged herein.
       20.    Plaintiff is informed and believes, and on that basis alleges that, each
of the Defendants acted, in all respects pertinent to this action, as the agent or
employee of each other, and carried out a joint scheme, business plan, or policy in
all respect thereto and, therefore, the acts of each of these Defendants are legally

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attributable to the other Defendants, and that these Defendants, in all respects,
acted as employers and/or joint employers of Plaintiff in that each of them
exercised control over her wage payments and control over her duties.
       21.     Plaintiff is informed and believes, and on that basis alleges that, at all
relevant times, each and every Defendant has been the agent, employee,
representative, servant, master, employer, owner, agent, joint venture, and alter ego
of each of the other and each was acting within the course and scope of his or her
ownership, agency, service, joint venture and employment.
       22.     At all times mentioned herein, each and every Defendant was the
successor of the other and each assumes the responsibility for the acts and
omissions of all other Defendants.
III.   VENUE AND JURISDICTION
       23.     This Court has jurisdiction over the subject matter of this action
under 28 U.S.C. § 1331 because this action arises under the FLSA, 29 U.S.C. §§
201, et seq.
       24.     Venue is proper in this District because all or a substantial portion of
the events forming the basis of this action occurred in this District. Defendants’
club is located in this District and Plaintiff worked in this District.
IV.    ALLEGATIONS COMMON TO ALL CAUSES OF ACTION
                             (AGAINST ALL DEFENDANTS)
       A.      FACTUAL ALLEGATIONS
       25.     Defendants operate an adult-oriented entertainment facility located at
13577 US Hwy 19 N, Clearwater, Florida 33764.
       26.     Defendants’ club located at 13577 US Hwy 19 N, Clearwater, Florida
33764operates under the name “Oz’s Gentlemen’s Club” or “Oz’s.”
       27.     At all times mentioned herein, Defendants were “employer(s)” or
“joint employer(s)” of Plaintiff.

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       28.      At all times during the three (3) years prior to the filing of the instant
action, Defendants categorized all dancers/entertainers employed by Defendants
as “independent contractors” and have failed and refused to pay wages to such
dancers.
       29.      At all times relevant to this action, Defendants exercised a great deal
of operational and management control over the subject club, particularly in the
areas of terms and conditions of employment applicable to dancers and
entertainers.
       30.      Plaintiff worked as a dancer for Defendants at various times from
approximately December 2018 to January 2021.
       31.      The primary duty of an entertainer is to dance and entertain
customers, and give them a good experience. Specifically, an entertainer performs
stage and table dances, and entertains customers on an hourly basis.
       32.      Stated differently, entertainers dance on stage, perform table dances,
and entertain customers in VIP rooms, all while nude or semi-nude.
       33.      Plaintiff worked and performed at the adult-oriented entertainment
facility multiple shifts per week. Plaintiff was an integral part of Defendants’
business which operated solely as an adult-oriented entertainment facilities
featuring nude or semi-nude female entertainers.
       34.      Defendants did not pay entertainers on an hourly basis.
       35.      Defendants exercised significant control over Plaintiff during her
shifts and would demand that Plaintiff stay until late in the morning if she worked.
       36.      Defendants set prices for all VIP performances.
       37.      Defendants set the daily cover charge for customers to enter the
facility and had complete control over which customers were allowed in the
facility.
       38.      Defendants controlled the means and manner in which Plaintiff could

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perform.
      39.    Defendants had the authority to suspend, fine, fire, or otherwise
discipline entertainers for non-compliance with their rules regarding dancing.
      40.    Defendants actually suspended, fined, fired, or otherwise disciplined
entertainers for non-compliance with their rules regarding dancing.
      41.    Although Defendants allowed entertainers to choose their own
costumes, Defendants reserved the right to decide what a particular entertainer
was allowed to wear on the premises. In order to comply with Oz’s’ dress and
appearance standards, Plaintiff typically expended approximately thirty (30)
minutes of time each shift getting ready for work without being paid any wages
for such time getting ready.
      42.    Plaintiff was compensated exclusively through tips from Defendants’
customers. That is, Defendants did not pay Plaintiff whatsoever for any hours
worked at their establishment.
      43.    Defendants also required Plaintiff to share her tips with Defendants,
and other non-service employees who do not customarily receive tips, including
disk jockeys, house moms, and security personnel.
      44.    Defendants are in violation of the FLSA’s tipped-employee
compensation provision, 29 U.S.C. § 203(m), which requires employers to pay a
tipped employee a minimum of $2.13 per hour. Defendants also violated 29
U.S.C. § 203(m) when they failed to notify Plaintiff about the tip credit allowance
(including the amount to be credited) before the credit was utilized. That is,
Defendants’ exotic dancers were never made aware of how the tip credit
allowance worked or what the amounts to be credited were. Furthermore,
Defendants violated 29 U.S.C. § 203(m) because they did not allow Plaintiff to
retain all of her tips and instead required that she divide her tips amongst other
employees who do not customarily and regularly receive tips. Because Defendants

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violated the tip-pool law, Defendants lose the right to take a credit toward
minimum wage.
       45.    Defendants exercised significant control over Plaintiff through
written and unwritten policies and procedures.
       46.    Oz’s provided and paid for all advertising and marketing efforts
undertaken on behalf of Oz’s.
       47.    Oz’s paid for the buildings used by Oz’s, maintenance of the
facilities, the sound systems, stages, lights, beverages and inventory used at the
facilities.
       48.    Defendants made all hiring decisions regarding wait staff, security,
entertainers, managerial and all other employees on the premises.
       49.    Oz’s’ opportunity for profit and loss far exceeded Plaintiff’s
opportunity for profit and loss from work at Oz’s.
       50.    Exotic dancing is an integral part of Oz’s’ operations. Oz’s’
advertising prominently displays exotic dancing for its customers. Oz’s is well
known as a “strip club.”
       51.    Oz’s needs entertainers to successfully and profitably operate the
Oz’s business model.
       52.    The position of entertainer requires no managerial skill of others.
       53.    The position of entertainer requires little other skill or education,
formal or otherwise.
       54.    The only requirements to become an entertainer at Oz’s are “physical
attributes” and the ability to dance seductively. Plaintiff did not have a formal
interview but instead was glanced over “up and down” and participated in a brief
audition by the manager before being offered an employment opportunity. The
amount of skill required is more akin to an employment position than that of a
typical independent contractor. Defendants do not require prior experience as an

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entertainer or any formal dance training as a job condition or prerequisite to
employment. Defendants do not require the submission of an application or a
resume as part of the hiring process.
      55.    Defendants failed to maintain records of wages, fines, fees, tips and
gratuities and/or service charges paid or received by entertainers.
      56.    Plaintiff was not paid an hourly minimum wage or any hourly wage
or salary despite being present at Defendants’ facility and required to work and
entertain its customers at any time during an eight-plus (8+) hour work shift.
      57.    Plaintiff was not paid overtime wages at one-and-a-half (1½) times
the regular minimum wage rate for any hours worked despite being present at
Defendants’ facility and required to work and entertain its customers for longer
than eight (8) hours per shift.
      58.    Plaintiff was not paid an hourly minimum wage for the typical twenty
(20) minutes of time expended prior to each shift to get ready for work, including
applying makeup and hair, and to comply with Defendants’ dress and appearance
standards.
      59.    Plaintiff was not paid an hourly minimum wage for the time she was
required to wait at Oz’s until the premises and the parking lot were cleared of
customers.
      60.    The FLSA Class Members had the same pay structure and were under
the same controls as Plaintiff.
      61.    Defendants have never paid Plaintiff and the FLSA Class Members
any amount as wages whatsoever, and have instead unlawfully required Plaintiff
and FLSA Class Members to pay them for the privilege of working.
      62.    The only source of monies received by Plaintiff (and the class she
seeks to represent) relative to her employment with Defendants came in the form
of gratuities received directly from customers, a portion of which Plaintiff and the

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FLSA Class Members were required to pay to Defendants.
      63.    Although Plaintiff and the FLSA Class Members are required to and
do in fact frequently work more than forty (40) hours per week, they are not
compensated at the FLSA mandated time-and-a-half rate for hours in excess of
forty (40) per workweek. In fact, they receive no compensation whatsoever from
Defendants and thus, Defendants violate the minimum wage requirement of
FLSA. See 29 U.S.C. § 206.
      64.    Defendants’ method of paying Plaintiff in violation of the FLSA was
willful and was not based on a good faith and reasonable belief that its conduct
complied with the FLSA. Defendants misclassified Plaintiff with the sole intent to
avoid paying her in accordance to the FLSA; the fees and fines described herein
constitute unlawful “kickbacks” to the employer within the meaning of the FLSA,
and Plaintiffs are entitled to restitution of such fines and fees.
      65.    Plaintiff and FLSA Class Members who worked at Oz’s performed
precisely the same job duties - dancing and entertaining at Oz’s.
      66.    Plaintiff and FLSA Class Members who worked at Oz’s during the
applicable limitations period(s) were subject to the same work rules established by
the Defendants as identified above.
      67.    Plaintiff and FLSA Class Members at Oz’s were subject to the terms
and conditions of employment and the same degree of control, direction,
supervision, promotion and investment imposed or performed by Defendants.
      68.    Plaintiff and FLSA Class Members at Oz’s during the applicable
limitations period(s) were subject to the same across-the-board, uniformly applied
corporate policy mandated by Defendants.
      69.    Plaintiff and the FLSA Class Members at Oz’s, during the applicable
limitations period, were subject to the same fees and fines imposed by Defendants.
      70.    Defendants required Plaintiff to pay fees to Defendants and other

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Oz’s employees, including but not limited to security personnel, house moms, and
disc jockeys.
         71.   Defendants required Plaintiff to pay fees to Defendants and other
Oz’s employees for reasons other than the pooling of tips among employees who
customarily and regularly received tips.
         72.   As a result of Defendants’ across-the-board, standard operating
procedure of mischaracterizing dancers/entertainers as “independent contractors”
and their consequent failure to pay any wages or compensation whatsoever, it is a
certainly that numerous other current and former dancers and entertainers who
worked at Oz’s during the applicable limitations period would elect to participate
in this action if provided notice of same.
         73.   Upon information and belief, more than one hundred (100) dancers
and entertainers have worked at Oz’s during the three (3) to five (5) years prior to
the filing of this action.
         74.   Plaintiff is “similarly situated” to the 29 U.S.C. § 216(b) class of
persons she seeks to represent, and will adequately represent the interests of the
class.
         75.   Plaintiff has hired Counsel experienced in class actions and in
collective actions under 29 U.S.C. § 216(b) who will adequately represent the
class.
         76.   Defendants failed to keep records of tips, gratuities and/or service
charges paid to Plaintiff or any other entertainer and failed to maintain and furnish
wage statements to Plaintiff.
         77.   Federal law mandates that an employer is required to keep for three
(3) years all payroll records and other records containing, among other things, the
following information:
         a.    The time of day and day of week on which the employees’ work week

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             begins;
      b.     The regular hourly rate of pay for any workweek in which overtime
             compensation is due under section 7(a) of the FLSA;
      c.     An explanation of the basis of pay by indicating the monetary amount
             paid on a per hour, per day, per week, or other basis;
      d.     The amount and nature of each payment which, pursuant to section 7(e)
             of the FLSA, is excluded from the “regular rate”;
      e.     The hours worked each workday and total hours worked each
             workweek;
      f.     The total daily or weekly straight time earnings or wages due for hours
             worked during the workday or workweek, exclusive of premium
             overtime compensation;
      g.     The total premium for overtime hours. This amount excludes the
             straight-time earnings for overtime hours recorded under this section;
      h.     The total additions to or deductions from wages paid each pay period
             including employee purchase orders or wage assignments;
      i.     The dates, amounts, and nature of the items which make up the total
             additions and deductions;
      j.     The total wages paid each pay period; and
      k.     The date of payment and the pay period covered by payment.
29 C.F.R. 516.2, 516.5.
      78.    Defendants have not complied with federal law and have failed to
maintain such records with respect to Plaintiff and the FLSA Class Members.
Because Defendants’ records are inaccurate and/or inadequate, Plaintiff and the
FLSA Class Members can meet their burden under the FLSA by proving that they,
in fact, performed work for which they were improperly compensated, and
produce sufficient evidence to show the amount and extent of their work “as a

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matter of a just and reasonable inference.” See, e.g., Anderson v. Mt. Clemens
Pottery Co., 328 U.S. 680, 687 (1946). Plaintiff seeks to put Defendants on notice
that she intends to rely on Anderson to provide the extent of her unpaid work.
      B.     INDIVIDUAL LIABILITY UNDER THE FLSA
      79.    In Lamonica v. Safe Hurricane Shutters, Inc., the U.S. Court of
Appeals for the Eleventh Circuit held that individuals can be liable for FLSA
violations under an expansive interpretation of “employer” for directors and
officers. Lamonica v. Safe Hurricane Shutters, Inc., 711 F.3d 1299 (11th Cir.
2013). The FLSA defines “employer” as “any person acting directly or indirectly
in the interest of an employer in relation to an employee.” 29 U.S.C. § 203(d). The
definition of “employer” under the FLSA is not limited by the common law
concept of “employer” but “is construed broadly to effectuate its ‘humanitarian
and remedial purpose’.” Molina v. SMI Sec. Mgmt., Inc., No. 11-24245-CIV, 2013
WL 12092072, at *4 (S.D. Fla. July 15, 2013).
      80.    Where an individual exercises “control over the nature and structure
of the employment relationship,” or “economic control” over the relationship, that
individual is an employer within the meaning of the FLSA, and is subject to
liability. Lambert v. Ackerley 180 F.3d 997 (9th Cir. 1999). Factors related to
“economic control,” which included ownership interest, operational control of
significant aspects of the day-to-day functions, the power to hire and fire
employees, determine salaries, and the responsibility to maintain employment
records.
      81.    Defendant Scagnelli is individually liable for failing to pay Plaintiff
and the FLSA Class Members their wages. The actual identities of DOE Managers
1-3 are unknown at this time.
V.    COLLECTIVE ACTION ALLEGATIONS
      82.    Plaintiff hereby incorporates by reference and re-alleges each and

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every allegation set forth in paragraphs 1-81 as if fully set forth herein.
      83.    Plaintiff brings this action as an FLSA collective action pursuant to
29 U.S.C. § 216(b) on behalf of all persons who were or are employed by
Defendants as exotic dancers/entertainers at any time during the three (3) years
prior to the commencement of this action to present.
      84.    Plaintiff has actual knowledge that FLSA Class Members have also
been denied pay at the federally mandated minimum wage rate. That is, Plaintiff
worked with other dancers/entertainers at Oz’s. As such, she has firsthand
personal knowledge of the same pay violations throughout Defendants’ club.
Furthermore, other exotic dancers/entertainers at Defendants’ club have shared
with her similar pay violation experiences as those described in this Complaint.
      85.    Other employees similarly situated to Plaintiff work or have worked
at Oz’s but were not paid at the federally mandated minimum wage rate.
      86.    FLSA Class Members perform or have performed the same or similar
work as the Plaintiff.
      87.    FLSA Class Members regularly work or have worked in excess of
forty (40) hours during a workweek.
      88.    FLSA Class Members regularly work or have worked and did not
receive minimum wage.
      89.    FLSA Class Members are not exempt from receiving overtime and/or
pay at the federally mandated minimum wage rate under the FLSA.
      90.    As such, FLSA Class Members are similar to Plaintiff in terms of job
duties, pay structure, misclassification as independent contractors and/or the
denial of overtime and minimum wage.
      91.    Defendants’ failure to pay overtime compensation and hours worked
at the minimum wage rate required by the FLSA results from generally applicable
policies or practices, and does not depend on the personal circumstances of the

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FLSA Class Members.
      92.      The experiences of Plaintiff, with respect to her pay, are typical of the
experiences of the FLSA Class Members.
      93.      The specific job titles or precise job responsibilities of each FLSA
Class Member does not prevent collective treatment.
      94.      All FLSA Class Members, irrespective of their particular job
requirements, are entitled to overtime compensation for hours worked in excess of
forty (40) during a workweek.
      95.      All FLSA Class Members, irrespective of their particular job
requirements, are entitled to compensation for hours worked at the federally
mandated minimum wage rate.
      96.      Although the exact number of damages may vary among FLSA Class
Members, the damages for the FLSA Class Members can be easily calculated by a
simple formula. The claims of all FLSA Class Members arise from a common
nucleus of facts. Liability is based on a systematic course of wrongful conduct by
the Defendants that caused harm to all FLSA Class Members.
      97.      As such, Plaintiff brings her FLSA claims as a collective action on
behalf of the following class:
         All     of    Defendants’      current     and     former      exotic
         dancers/entertainers who worked at the Oz’s location in
         Clearwater, Florida at any time starting three years before
         this Complaint was filed.
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VI.    CAUSES OF ACTION
                            FIRST CAUSE OF ACTION
      FAILURE TO PAY MINIMUM WAGE PURSUANT TO FLSA, 29 U.S.C. § 206
      (By Plaintiff Individually and on Behalf of the Collective Against All
                                     Defendants)
       98.   Plaintiff hereby incorporates by reference and re-alleges each and
every allegation set forth in paragraphs 1-97 as if fully set forth herein.
       99.   Defendants are engaged in “commerce” and/or in the production of
“goods” for “commerce” as those terms are defined in the FLSA.
       100. Defendants operate an enterprise engaged in commerce within the
meaning of the FLSA, 29 U.S.C. § 203(s)(1), because it has employees engaged in
commerce, and because its annual gross volume of sales made is more than five
hundred thousand U.S. Dollars ($500,000).
       101. Defendants failed to pay Plaintiff the minimum wage in violation of
29 U.S.C. § 206.
       102. Based upon the conduct alleged herein, Defendants knowingly,
intentionally and willfully violated the FLSA by not paying Plaintiff the minimum
wage under the FLSA.
       103. Throughout the relevant period of this lawsuit, there is no evidence
that Defendants’ conduct that gave rise to this action was in good faith and based
on reasonable grounds. In fact, Defendants continued to violate the FLSA long
after it learned that its misclassification scheme and compensation policies were
illegal.
       104. Due to Defendants’ FLSA violations, Plaintiff is entitled to recover
from Defendants, minimum wage compensation and an equal amount in the form
of liquidated damages, as well as reasonable attorneys’ fees and costs of the
action, including interest, pursuant to 29 U.S.C. § 216(b).

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                          SECOND CAUSE OF ACTION
                      ILLEGAL KICKBACKS, 29 C.F.R. § 531.35
      (By Plaintiff Individually and on Behalf of the Collective Against All
                                     Defendants)
      105. Plaintiff hereby incorporates by reference and re-alleges each and
every allegation set forth in paragraphs 1-104 as if fully set forth herein.
      106. Defendants required Plaintiff to pay monetary fees to Defendants and
other Oz’s employees who did not work in positions that are customarily and
regularly tipped, in violation of 29 U.S.C. § 203(m).
      107. Defendants’ requirement that Plaintiff pay fees to Defendants and
other Oz’s employees violated the “free and clear” requirement of 29 C.F.R. §
531.35.
      108. Because Defendants violated the “free and clear” requirement of 29
C.F.R. § 531.35 as alleged above, they were not entitled to utilize the FLSA’s tip-
credit provision with respect to Plaintiff’s wages.
      109. Because Defendants violated the “free and clear” requirement of 29
C.F.R. § 531.35, all monetary fees imposed on Plaintiff are classified as illegal
kickbacks.
      110. Plaintiff is entitled to recover from Defendants all fees that
Defendants required Plaintiff to pay in order to work at Oz’s, involving but not
limited to house fees and tip sharing.
                           THIRD CAUSE OF ACTION
    UNLAWFUL TAKING OF TIPS IN VIOLATION OF THE FLSA, 29 U.S.C. § 203
     (By Plaintiff Individually and on Behalf of the Collective Against All
                                     Defendants)
      111. Plaintiff hereby incorporates by reference and re-alleges each and
every allegation set forth in paragraphs 1-110 as if fully set forth herein.

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      112. Plaintiff customarily and regularly received more than thirty U.S.
Dollars ($30.00) a month in tips and therefore is a tipped employee as defined in
the FLSA, 29 U.S.C. § 203(t), see also 29 C.F.R. § 531.50.
      113. At all relevant times, each Defendants were “employer(s)” or “joint
employer(s)” of Plaintiff within the meaning of the FLSA, 29 U.S.C. § 203(d).
      114. Defendants are engaged in “commerce” and/or in the production of
“goods” for “commerce” as those terms are defined in the FLSA.
      115. Defendants operate an enterprise engaged in commerce within the
meaning for the FLSA, 29 U.S.C. § 203(s)(1), because it has employees engaged in
commerce, and because its annual gross volume of sales made is more than five
hundred thousand U.S. Dollars ($500,000).
      116. Under TIPA:

           [a]n employer may not keep tips received by its employees for
           any purpose including allowing managers or supervisors to keep
           any portion of employees’ tips, regardless of whether or not it
           takes a tip credit.
           29 U.S.C. § 203.
      117. Defendants kept a portion of tips paid to Plaintiff by Defendants’
customers in the form of fees, fines, mandatory charges and other payments to
employees such as disc jockeys, house moms, and security personnel in violation
of TIPA.
      118. Defendants required Plaintiff to participate in an illegal tip pool,
which included employees who do not customarily and regularly receive tips, and
do not have more than a de minimis, if any, interaction with customer leaving the
tips (such as the Club DJ, house moms, and security). See U.S. Dep’t of Labor,
Wage and Hour Division, “Fact Sheet # 15: Tipped employees under the Fair
Labor Standards Act (FLSA).”
      119. The contribution Defendants required Plaintiff to make after each shift

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was arbitrary and capricious and distribution was not agreed to by Plaintiff other
dancers; but rather, was imposed upon Plaintiff and other dancers.
      120. By requiring Plaintiff to pool her tips with club employees who do not
customarily receive tips, Defendants “retained” a portion of the tips received by
Plaintiff in violation of the FLSA.
      121. Defendants did not make any effort, let alone a “good faith” effort, to
comply with the FLSA as it relates to compensation owed to Plaintiff.
      122. At the time of their illegal conduct, Defendants knew or showed
reckless disregard that the tip-pool which they required Plaintiff to contribute
included non-tipped employees and, therefore, was statutorily illegal. In spite of
this, Defendants willfully failed and refused to pay Plaintiff the proper amount of
the tips to which she was entitled.
      123. Defendants’ willful failure and refusal to pay Plaintiff the tips she
earned violates the FLSA.
      124. Defendants kept a portion of tips paid to Plaintiff by Defendants’
customers in the form of fees, fines, mandatory charges and other payments to disc
jockeys, house moms, and security personnel in violation of TIPA.
      125. As a result of the acts and omissions of the Defendants as alleged
herein, and pursuant to 29 U.S.C. §§ 216(b) and 260, Plaintiff is entitled to
damages in the form of all misappropriated tips, plus interest; as liquated damages,
an amount equal to all misappropriated tips, mandatory attorneys’ fees, costs, and
expenses.
                          FOURTH CAUSE OF ACTION
                        FORCED TIPPING, 29 C.F.R. § 531.35
     (By Plaintiff Individually and on Behalf of the Collective Against All
                                      Defendants)
       126. Plaintiff hereby incorporates by reference and re-alleges each and

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every allegation set forth in paragraphs 1-125 as if fully set forth herein.
      127. Defendants required Plaintiff to pay monetary fees to other Oz’s
employees who did not work in positions that are customarily and regularly
tipped, in violation of 29 U.S.C. § 203(m).
      128. Defendants’ requirement that Plaintiff pay fees to other Oz’s
employees violated the “free and clear” requirement of 29 C.F.R. § 531.35.
      129. Because Defendants violated the “free and clear” requirement of 29
C.F.R. § 531.35 as alleged above, they were not entitled to utilize the FLSA’s tip-
credit provision with respect to Plaintiff’s wages.
      130. Plaintiff is entitled to recover from Defendants all fees that
Defendants required Plaintiff to pay other employees in order to work at Oz’s,
involving but not limited to forced tip sharing.
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                              PRAYER FOR RELIEF
WHEREFORE, Plaintiff requests of this Court the following relief:
          1.     For compensatory damages according to proof at trial of at least
                 $100,000;
          2.     For special damages according to proof at trial;
          3.     For restitution of unpaid monies;
          4.     For attorneys’ fees;
          5.     For costs of suit incurred herein;
          6.     For statutory penalties;
          7.     For civil penalties;
          8.     For pre-judgment interest;
          9.     For post-judgement interest;
          10.    For general damages in an amount to be proven at trial;
          11.    For declaratory relief;
          12.    For injunctive relief; and
          13.    For such other and further relief as the Court may deem just and
                 proper.


 Dated: September 22, 2021                      /s/ Raymond R. Dieppa
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                           DEMAND FOR JURY TRIAL
      Plaintiff hereby demands a trial by jury for all such triable claims.


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